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                                                                          6                        IN THE UNITED STATES DISTRICT COURT
                                                                          7                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                                                                     )   Case No. C 07-5944 SC
                                                                          9                                          )
                                                                              In re: CATHODE RAY TUBE (CRT)          )   MDL No. 1917
                                                                         10   ANTITRUST LITIGATION                   )
                               For the Northern District of California
United States District Court




                                                                                                                     )   ORDER DENYING TOSHIBA'S MOTION
                                                                         11   This Document Relates to:              )   TO DISMISS DELL'S FIRST AMENDED
                                                                                                                     )   COMPLAINT
                                                                         12   Dell Inc. v. Hitachi Ltd., No.         )
                                                                              13-cv-2171                             )
                                                                         13                                          )
                                                                                                                     )
                                                                         14                                          )
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                                                                         16   I.     INTRODUCTION
                                                                         17          Now before the Court is the Toshiba Defendants' 1 Rule 12(b)(6)
                                                                         18   motion to dismiss Plaintiffs Dell Inc. and Dell Products L.P.'s
                                                                         19   ("Plaintiffs") first amended complaint.           ECF No. 1726 ("FAC").   The
                                                                         20   motion is fully briefed.        ECF Nos. 1998 ("Mot."), 2193 ("Opp'n"),
                                                                         21   2230 ("Reply").      The Court finds it appropriate for resolution
                                                                         22   without oral argument, Civ. L.R. 7-1(b), and DENIES it.
                                                                         23
                                                                         24 II.      BACKGROUND
                                                                         25          The parties are familiar with the general facts of this case,
                                                                         26   which is an antitrust action concerning the alleged price-fixing of
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                                                                                The Toshiba Defendants are Toshiba Corporation, Toshiba America
                                                                         28   Information Systems, Inc., and Toshiba America Electronic
                                                                              Components, Inc.
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                                                                          1   cathode-ray tubes ("CRTs").      A brief factual summary relevant to
                                                                          2   the instant motion follows.
                                                                          3        The Toshiba Defendants are companies that are all alleged to
                                                                          4   have manufactured, marketed, sold, or distributed CRT Products in
                                                                          5   the United States, either directly or through subsidiaries or
                                                                          6   affiliates.   FAC ¶¶ 61-64.    Plaintiffs allege that the Toshiba
                                                                          7   Defendants participated in an international conspiracy to fix the
                                                                          8   prices of CRTs, and that they never effectively withdrew from it.
                                                                          9   Id. ¶¶ 149-51.   Plaintiffs also contend that the Toshiba Defendants
                                                                         10   and other Defendants were highly interrelated, as when they formed
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                                                                         11   CRT-related joint ventures.      See id ¶¶ 95-96.     Plaintiffs state
                                                                         12   that they bought price-fixed CRT Products "directly from Defendants
                                                                         13   and co-conspirators, and/or Defendants' and co-conspirators'
                                                                         14   subsidiaries and affiliates, and/or any agents controlled by
                                                                         15   Defendants, Defendants' subsidiaries and affiliates, co-
                                                                         16   conspirators or co-conspirators' affiliates," as well as from
                                                                         17   original equipment manufacturers ("OEMs") and other suppliers.           See
                                                                         18   id. ¶¶ 20, 61-64.    The Toshiba Defendants now move to dismiss.
                                                                         19
                                                                         20 III.   LEGAL STANDARD
                                                                         21        A motion to dismiss under Federal Rule of Civil Procedure
                                                                         22   12(b)(6) "tests the legal sufficiency of a claim."          Navarro v.
                                                                         23   Block, 250 F.3d 729, 732 (9th Cir. 2001).        "Dismissal can be based
                                                                         24   on the lack of a cognizable legal theory or the absence of
                                                                         25   sufficient facts alleged under a cognizable legal theory."
                                                                         26   Balistreri v. Pacifica Police Dep't, 901 F.2d 696, 699 (9th Cir.
                                                                         27   1988).   "When there are well-pleaded factual allegations, a court
                                                                         28   should assume their veracity and then determine whether they



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                                                                          1   plausibly give rise to an entitlement to relief."         Ashcroft v.
                                                                          2   Iqbal, 556 U.S. 662, 664 (2009).      However, "the tenet that a court
                                                                          3   must accept as true all of the allegations contained in a complaint
                                                                          4   is inapplicable to legal conclusions.       Threadbare recitals of the
                                                                          5   elements of a cause of action, supported by mere conclusory
                                                                          6   statements, do not suffice."      Id. at 678 (citing Bell Atl. Corp. v.
                                                                          7   Twombly, 550 U.S. 544, 555 (2007)).       The allegations made in a
                                                                          8   complaint must be both "sufficiently detailed to give fair notice
                                                                          9   to the opposing party of the nature of the claim so that the party
                                                                         10   may effectively defend against it" and "sufficiently plausible"
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                                                                         11   such that "it is not unfair to require the opposing party to be
                                                                         12   subjected to the expense of discovery."        Starr v. Baca, 652 F.3d
                                                                         13   1202, 1216 (9th Cir. 2011).
                                                                         14        Claims sounding in fraud are subject to the heightened
                                                                         15   pleading requirements of Federal Rule of Civil Procedure 9(b),
                                                                         16   which requires that a plaintiff alleging fraud "must state with
                                                                         17   particularity the circumstances constituting fraud."          See Kearns v.
                                                                         18   Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009).          "To satisfy
                                                                         19   Rule 9(b), a pleading must identify the who, what, when, where, and
                                                                         20   how of the misconduct charged, as well as what is false or
                                                                         21   misleading about [the purportedly fraudulent] statement, and why it
                                                                         22   is false."   United States ex rel Cafasso v. Gen. Dynamics C4 Sys.,
                                                                         23   Inc., 637 F.3d 1047, 1055 (9th Cir. 2011) (internal quotation marks
                                                                         24   and citations omitted).
                                                                         25
                                                                         26 IV.    DISCUSSION
                                                                         27        The Toshiba Defendants argue that Plaintiffs have failed to
                                                                         28   allege facts that would support standing under the "ownership or



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                                                                          1   control" exception of Illinois Brick v. Illinois, 431 U.S. 720
                                                                          2   (1977).     That case, now quite familiar to all parties in this MDL, 2
                                                                          3   set forth several exceptions to the general rule that plaintiffs
                                                                          4   who purchased allegedly price-fixed goods indirectly -- i.e., not
                                                                          5   from the ultimate price-fixer -- lack standing to bring a federal
                                                                          6   antitrust case.      See In re ATM Fee Antitrust Litig., 686 F.3d 741,
                                                                          7   749 (9th Cir. 2012).       One exception, the "ownership or control"
                                                                          8   exception, provides for standing when a plaintiff bought the
                                                                          9   allegedly price-fixed good from an entity owned or controlled by
                                                                         10   the ultimate price-fixer.        Id.
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                                                                         11          Plaintiffs respond that the Toshiba Defendants had previously
                                                                         12   stipulated not to raise this argument on a motion to dismiss, and
                                                                         13   in any event that their allegations are enough to support standing
                                                                         14   at this time.
                                                                         15          Plaintiffs and the Toshiba Defendants entered the stipulation
                                                                         16   in question on October 1, 2013, ECF No. 1969 ("Stip."), after the
                                                                         17   Court issued its August 21, 2013 Order on the Defendants' Joint
                                                                         18   Motion to Dismiss Certain Direct Action Plaintiffs' ("DAP")
                                                                         19   Complaints, ECF No. 1856 ("Aug. 21 Order").           The relevant parts of
                                                                         20   the Stipulation read as follows:
                                                                         21          The Stipulating Plaintiffs’ Complaints do not seek to
                                                                                     proceed under the "cost-plus" and "co-conspirator"
                                                                         22          exceptions to Illinois Brick;
                                                                         23          The undersigned Defendants' request to dismiss the
                                                                                     Stipulating Plaintiff's Complaints as they pertain to
                                                                         24          the Stipulating Plaintiffs’ right to proceed under the
                                                                                     "ownership or control" exception to Illinois Brick is
                                                                         25          denied for the reasons set forth in the August 21, 2013
                                                                                     Order; and
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                                                                         28     See, e.g., ECF No. 1470 ("Order Re: Defs.' Joint Mot. for S.J.")
                                                                              ("S.J. Order.")).


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                                                                                   By   virtue  of   this   Stipulation,   the undersigned
                                                                          1        Defendants and the Stipulating Plaintiffs do not waive
                                                                                   any of their appeal rights to the Illinois Brick issues
                                                                          2        addressed and resolved in this Stipulation.
                                                                          3
                                                                              Stip. ¶¶ 5-7.
                                                                          4
                                                                                   In support of their argument that the Stipulation bars the
                                                                          5
                                                                              Toshiba Defendants from raising the ownership or control issue on a
                                                                          6
                                                                              motion to dismiss, Plaintiffs also include an email from the
                                                                          7
                                                                              Toshiba Defendants' counsel concerning the Stipulation:
                                                                          8
                                                                                   Certain of the defendants are planning on moving to
                                                                          9        dismiss the Sharp, Dell, and Tech Data complaints on the
                                                                                   basis of Illinois Brick. Recall that Judge Conti
                                                                         10        previously granted similar motions with respect to the
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                                                                                   "cost-plus" and "coconspirator" exceptions to Illinois
                                                                         11        Brick, while denying such motions with respect to the
                                                                                   "ownership and control" exception.
                                                                         12
                                                                                   Rather than briefing this issue, we propose resolving
                                                                         13        this issue in the attached stipulation. We could add
                                                                                   language to the stipulation that closely follows Judge
                                                                         14        Conti’s ruling on the issue. Everyone would preserve
                                                                                   their appeal rights. Please let me know what you think.
                                                                         15
                                                                         16   ECF No. 2193-1 ("Bernstein Decl.") Ex. A ("Lau Ltr.").
                                                                         17        The Toshiba Defendants read the Stipulation and the Lau Letter
                                                                         18   to permit them to base a motion to dismiss on the inadequacy of
                                                                         19   Plaintiffs' pleadings.     Here they point to the August 21 Order,
                                                                         20   which granted Defendants' motion to dismiss to the extent that it
                                                                         21   challenged the DAPs' right to proceed under Illinois Brick's "cost-
                                                                         22   plus" or "co-conspirator" exceptions, but denied it to the extent
                                                                         23   that it challenged the DAPs' rights to proceed under the ownership
                                                                         24   or control exception.     Aug. 21 Order at 5.
                                                                         25        The Court's decision there was based on Defendants' statement
                                                                         26   that they raised the issue in their motion to dismiss only to
                                                                         27   preserve it for appeal, not to brief and argue it fully.           See ECF
                                                                         28   Nos. 1664 ("R&R on Joint MTD") at 4-5, 1706 ("Joint Obj'ns to R&R")



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                                                                          1   at 24.   Defendants' litigation position was based on their
                                                                          2   contention that the Court's ruling on ownership or control was
                                                                          3   wrong as a matter of law, so far as it held that the exception can
                                                                          4   apply to "the purchase of a finished product from an entity
                                                                          5   allegedly owned or controlled by an allegedly conspiring
                                                                          6   Defendant."   Joint Obj'ns to R&R at 24.       Recognizing that the
                                                                          7   Court's earlier holding as to the availability of the ownership or
                                                                          8   control exception constituted the law of the case, Defendants did
                                                                          9   not attempt to re-litigate it.      Id.   In a footnote, Defendants
                                                                         10   clarified further that the issue of proving the exception is a
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                                                                         11   different question, and noted that the adequacy of the DAPs'
                                                                         12   pleading of the exception were not before the case's former Special
                                                                         13   Master at the hearing on that motion.       Id. at 24 n.21.
                                                                         14        Accordingly, the Court stated in its August 21 Order that it
                                                                         15   expressed "no view as to whether the DAPs will be able to prove
                                                                         16   what is needed to establish the ownership or control exception" and
                                                                         17   made "no ruling on the adequacy of the DAPs' allegations of
                                                                         18   ownership and control."     Aug. 21 Order at 5.      The Toshiba
                                                                         19   Defendants' position is apparently that since the Court made no
                                                                         20   ruling as to how a party should plead the ownership or control
                                                                         21   exception, its holding only extends to the legal issue of whether
                                                                         22   the exception applies at all in a fact pattern like this one.
                                                                         23        The Court finds for Plaintiffs.       The stipulation and the
                                                                         24   Court's prior orders all indicate that the ownership or control
                                                                         25   exception was not to be re-litigated.       In any event, the Court
                                                                         26   finds Plaintiffs' allegations sufficient to entitle them to the
                                                                         27   ownership or control exception at this time.         Plaintiffs pled that
                                                                         28   they purchased CRT Products from Toshiba, Toshiba's affiliates or



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                                                                          1   agents, or any agents that Toshiba or its subsidiaries controlled,
                                                                          2   and that it was injured when it paid artificially high prices for
                                                                          3   those products.   This is sufficient to entitle them to the
                                                                          4   ownership or control exception as a pleading matter.          Whether they
                                                                          5   have the facts to prove it is a different issue.         Toshiba's motion
                                                                          6   is accordingly DENIED on these grounds.
                                                                          7
                                                                          8   V.   CONCLUSION
                                                                          9        As explained above, the Toshiba Defendants' motion to dismiss
                                                                         10   Plaintiffs Dell Inc. and Dell Products L.P.'s first amended
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                                                                         11   complaint is DENIED.
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                                                                         13        IT IS SO ORDERED.
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                                                                         15        Dated: March 13, 2014
                                                                         16                                            UNITED STATES DISTRICT JUDGE
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